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                                                                              |anuary 30,2019

By ECF

The Honorable Ronnie Adams
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

                 Re:    Manuel Asensio v. Emilie Marie Bosak, et aL
                        18 Cv 10e33 (RA)

Dear Judge Adams:

       I represent the defendant Emilie Marie Bosak in the above-entitled action. In
accordance with Section 1(D) of Your Honor's Individual Rule s & Practices in Civil Cases, I
am writing to respectfully request an extension of time, until February 14, 20'19, for the
defendant respond to the complaint in this matter.

       This is the second request made by the defendant for an extension of time. The
original due date for the defendant's response was December 1,7, 2018. Defendant was
granted an extension of time until fanuary 3L,201.9.

         Ihave communicated with Jonathon Conley, Esq., who represents all other
defendants named in this matter, and he has is consenting to the extension. I have also
communicated with the plaintiff Manuel Asensio but he has declined to state whether or
not he is willing to consent to the extension.

       An adjournment would affect the current date set for the plaintiff to submit a
response to defendant's motion, which is February 14,201,9. If this Court is to grant
defendant's second request for an extension, I propose that the plaintiffs time to respond
be extended 14 days, until February 28,201,9.

                                                            ResBectfully submitted,

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                                                            Rachel Ambats


Cc (by   ECfl:   Manuel Asensio; Jonathan D. Conley, Esq.
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